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ase: 1:21-cr-00618 Document #: 570 Filed: 12/13/24 Page 1 of 12 PagelD #:15013

2 TN ‘THE UNITES STATES

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TRICT COURT For THENGRTERN DISTRICT 1
=N AND FORTHE STATE OF TLLINOSS

a oo — . . CASENO 1B) CR G\3S-G oe.
HE RALPH TURPIN, Jupae MacthaM. Pacoid.
Wo Defendant, Movant,

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pet 13 04 WO
mn oe
HUNZTED STATES OF AMERICA, 0 me QNASGERUTON .
ReSgondant(s) Sf
ne MOTION-TO.SET ASTDEA TUDGMENT FOR FRAUD ON COURT,

yo. PURSUANT FEDERALROLES OF CIviL PROCEDURE. 606) (3) or 81d) 3) __

_Comes Now, the defendant, Ralph Turpin, pra-se inthis.

oro CeSSi WG nd moves ts honorable court to first d ischatge.... .
Heoonsels of record and allow the defendant to procee a.

4 Pro-S _porsuant +o. Faretba v. California, 25 Sct, asa5(i97s),

- Han the instawh Litt gartion and al matters Suleyect to the now
al [pendi. Ag, Litigation ok lone.

H .. Please see th eFfollowing facts of record Stand, Ing.
iCivm-to merit the retief prayed under the GOMBore0Md))

u Rule of Low 11m the interest of josh ce and aro cedvural.

due process.of Lows...

cee dfn ee re rmermpnncnemnicr

STATEMENT GF CASE AND FACTS

Hoo. = Thedefendant, Rol ph Tor pin, was arrested onor about.
Utne date of : He 11-2023, I was indicted on af 7eount criminal
Lindictment do to hay eng alleged Co -defendants, however

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pse: 1:21-cr-00618 Document #: 570 Filed: 12/13/24 Page 2 of 12 PagelD #:15014

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only. counts dand 3_o6f the origi nal Su perseding criminal —__.
indictment charge me, Ralph Turpin pursuant to case

4 Sttal- er- 00g, oe oe oo ,

. However, on January 177 +h, A034, After receiving the Tory
LVverd sedick of guilty on counts 1 and 3.of the su persedin Joon

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saps cs pte Hy =f jaro!

indictment. Sentencing WAS. postpone pending presenkence
iwvest gation Report and. ‘cvling on. motion for New trial.

jond Mo ton requesting. 2. Tudgment OF Acaqu it¢ol, Rule 29.

pract. iced_upon the. Courtoud. Dury. bythe official Federal |

ii Prosecutors. during the Jury trial to ill egally Secure _

the conviction of the Movant whe was the defendant

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ponents

name Mr.Ralph Turpninviolation of afl his avil vi ghts

i protection establis hed by the Stand cthamendment Procedural

weve vs process clouse. rights inthe United States constrtution,
was deprived because the bad foith intentions of the Prosecutors.

The Movant. Ral. ph Turpin, 's the defendant inthe insta

i Case awcmaves this honavalole cavrt to act and pro~.

1 Ceed +o ¢ nvestigate lis claims of Fraud on she courtand

Sury done, ey the prosecution divectly iv ardec to get
_ dlaconviction upon him in violation of his civil right.
ito Procedural dve. process as explained by the Unvred
states Constitution Ss” . Kond yar Amendment and enforced
iAbroogh. Acricle*e, Supremacy Clause holding the United

HStobes constitution to be the Supreme Law of the Land.

(2)

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noting Now the instant motion _pro-se filed under Federal
Heiwil rules of. procedure Rule. GO) @) or G0@) (3), 1s invoked _
itimely. within fone) yearof the Judgment | nwhich the Fraud. .
Ai.

ase: 1:21-cr-00618 Document #: 570 Filed: 12/13/24 Page 3 of 12 PagelD #:15015

PLease see the foilowi ng Grounds for relief under the
instant vehicle of Law timely filed +5 secu re oO Vacate cd
4 Sudgment that is not validly rendered dueto delibrate
iideceptian of the court and Tory cceating a clear

tn ‘ §
manifested injustice.

GROUND" ONE
the Prosecutors Secupad Conviction
lbased on Fraud on the Court and Tury
th rough oa DeLibrate Deception of the
court and Tu ry beginning withthe
Opening statement inviolatian of
due process of Lawmoking omanrfest
in yusti ce lbreachoPmyS* Amendment and
CM pmendment right tothe. United states constitution

The Movant, defendant, Raiph Turpin , provides inthe now
pending Litigation there wasa planned Formedby the United states
Assistant Attorney's who triedthe instant case.

The Fraud starred withthe Gevernment during the

ifo peni ng statement of trialithere was afalse Solicited

|| Statement claiming di rectly that the prosecution occuse me
MY Ralph Torpi N ef Moking aCall to the alleged Killers of

Il maw Called carlton Weekly A.K.A, Duck’, and how thisideal
i Was created was when the prosecutors Started a deLibevate
| deception and told the court and Tury that Mr, Ral ph
Turpin made acall while in oa Known cl othing Store.

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ASe: 1:21-cr-00618 Document #: 570 Filed: 12/13/24 Page 4 of 12 PagelD #:15016

colled Milani and the statement wos direct tomake.

ithe Ju ry think ot alspecticttime. T, Ralph Turpin.sow.

My, Weekly a, w.0. Duck in the Milani Store Located
off Oak Street Were im Cook. county. chicago TLLinotS

a and instantly. Gllegedly Called the alleged co-defendants .
i in the Superseding indictment ond told themto....

how the. victim Cocltonweekly A.K.A, Ducks. we

PLease. see Value™1, Trial Transcript Page” *3031 in ts $s

i full. reading to Locote the False statement calling me. oe

Rolph Torpin tne person who.causedthe death of.

arlton Week y *+hrough- Qa. phonecoll Twas. claimed to _

: Nave smnate ho She Milani. Clothing Store on*r+he date of

¥- A-AdAO , However, these allegations were modefalse

by Prosecutor's because the alleged people whomare..

Hhoug to be The oll eged Ki Wers of victim MaWeekly.
werertracke by streed camera's. onthe highwoy hich did show the |

facta +i seanies Steckes +o. Reavel indine divection ofthe |

the camera . ot the. mi lenis store | 1S Show! ing myselt ond

: (Awa Ww eekly there at aA Specific ti me based on Camera deatoftrom Milani;

Butthe Alleged Killers. mokesthere departures fram _

di AWere Area which ifthe call I mode to. government wrkness
| Mr, Cashell Williams, Would hove been made during the.
iltime TL was present. during the Milani Clothing Store asthe |
LB Prosecutor. Li ed tothe courtand ‘Jury and said based on Valve goftri al

“ranser! pt Page 3031 i. rwould have created a clear Showing

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dbase: 1:21-cr-00618 Document #: 570 Filed: 12/13/24 Page 5 of 12 PagelD #:15017

gd of material evidence and not circumstantial evidence prow, Ag.
_athat the call of Ral ph. Turpin Could and ar Shovid be marked
as the tri ggering.call that. created the Plot To Pus ht+othe st.
Milani Store in Chicage Anois o6€_ Oak Street and.
Attack McWeeily, based onthe presentingof evidence if
i Such wasteve but to thelsure riselot thishonorable
_ courtit must be compelled to vacate the verdictof

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1 tears epee ig faa a Se

casey, we fail
os ot

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pan bg nity te en tit

4 guilt in count*1 and Sagat nst_ Me Ralph Turpin loecause __.
od here really wos[ineta phon ecall made inthe Milani...

i Stores Please review. question. and Answ erincelation  ....

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Ito Sei zed pho ne records as tokenfrom the ceil ph one

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: Of Ralph Turpi n Joy aw enforcement Agent Doyle whom...
testified about Ralph Turpin to _recards in Trial Exhibit...

dl Bo0-1_and 00-8. PLease notice these records hodall. .

athe inbound and outbound calls for Rol pa Tur pi “M5 céilp hone.
_Nomibet_ and focused.on Aug ust 2°4 2020 »However,as here.
a. ih we pacticui otly note , “there was.no calls, \nboundar. _
4 ovthound) from. Rol.ph Turpin phone.during thetew. ...

en minutes 1, Mn Ral phTu pun. and Mr w eekly thevietim
was in_Miloni.cl othing Stare together ewheretere I dida+ couse the
___.. . Lambush-The govecament. entered into evidence and Showed during _

Earrial the “Oak street Shopper ng center Compilation videothat —
. Showed thedirect time victim Mr. CarltiWeekly and the

J Movant Ralph Turpin walked into Milani clothing Store Af.
.. jond-+hetime Rolph Turpin and Mr Weekly walkedout
athe Milani clothing Store. The obvious reasenfor Show’ ng.

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ac Bens Senet ia

ithe “com oil ation video af the entering and exit ofthe Milan.

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a BY

dhse: 1:21-cr-00618 Document #: 570 Filed: 12/13/24 Page 6 of 12 PagelD #:15018

Store was because the Prosecution wanted the Suey te. oo
focus on the time Line at Milaai Stere Showi agthe

a Movaut/defend ant Ralph Turp in_and victim MrWeekly
| because the Prosecution neededa Sure foundatian te |

qotepe ponomgueas anaes stanrengend

[Set the stage for theldelibrate decepti onlte Say... _
_ eB thot Ralph Turpin called and gave Min Weekly oo
_ i Location Sothat he could be hurt | oe

Ht owever, the Government had traffic Camera Video

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iwhi chp roves the alleged Attockeirof M vr. Carlton Weekly. oe

at

| Was factualiyin raute.based ontraffic camera time.
t deco. at the Sametime. Mn Turpin.and M Y Weekly was... es

Hat Milani Clothing store. and because traffic camerd’s
LShowed the vehicle used inthes lay iy 5. of Mr Weekly a

lwas_al ready AM Route. to the Shopping center on Oak
Street where the Milant Store was located it reall y.
factually proved that there had to be someone else call ingand
Clearly jnot|me Ralph Tur p! n who had the alleged
HK ers. .comng for the victim Mr. Carlton. Weekly. a.
1. yet-the Whole case would be lbased on timing video
_ Ecomeratime data » traffic camera time clata, and

d phone recocds Amloovind and outleund call +imedata.
Land. L now point out that the alleged people whom

41s and was indicted for usi ng the vehi cle Seen.

i on traffic comera video's in cack county chicago

Utilinots onthe dete of &- A-A020 that cameto
ithe Shopping center on Oak street did remain in
Tail for aver 1% menths before the Federal Proseautuys

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Soa fries hae oc
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| true innoc enee .

Ise: 1:21-cr-00618 Document #: 570 Filed: 12/13/24 Page 7 of 12 PagelD #:15019

filed a Superseding indictment against me Ral phT Tucpins
+he Security. Moan that did video tape My call made

4 in the Moncler storein ciricage without my. Know fedgeisonly praving
4} C was iv fear of. my own Life and x did not breakany

Law by sharing what Was going on in my immed (ote
 Sorvoundi ng and these facts went un-naticed by the...

iSury because once the Jury received false statements
- thot Mee. Rolph Turpin. Called while at Milani Stove.
ond. gave Mr. weekly ALKA, Duck Location +o others, __
ALAS Solicited falsily to the Tuny + he Prosee utor thereselt
IL tt Was, bel lieved! And was prejudice imthehi ighest degree,

However, whet The progecution di idfnot) reveal was

"3 Key. faoctorsthat Proved beyond any reason Able.

dovlbt I, Rolph Tur pin. had nothing to do with the
Slaying of Carlton weeily AikKiA. Duck on August andaoao,

| Firstlnoone Z called while at the Oak street Store

| of ;Moncier ever cometo the Location the Slaying

of Me, Weekly had taken Placeat int order that it coyid _

ii lbe Said T caused the Rmloush3 There was cell phone
i “tower. information +O thot Was inthe Governments
| immediate. possessiovy which Showed atfndtime

prior to the SI laying oF Ma weekly was there any
number in mn Mloound or outbound calis now Shar ng

il the Some ‘cellphone. tower information as me fram the
| Shopping center Location whem could be even considered
aS the alleged Attackers of Mr, Weekly; This proves my

Second the person T was onthe eell-

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Case: 1:21-cr-00618 Document #: 570 Filed: 12/13/24 Page 8 of 12 PagelD #:15f 20
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Phone With in the [moncier] Store inwhich< had been unknowingly taped
talking on my ceilphone with my Friend name “Cashell Williams and hiscelll
phene never Shared the same “celiphone tower’ as mine Ralph Turpin prior
to the Slaying of Mr. Weekly ALKA, DUCK While Z remained at the Shopping center

on Oak Street In Chicago LILLinois- This preves that[no] one Tcatied car hi ed

out the Slaying of Mr. Carlton Weekly the victim inthis case. Howev ie
to Show More of my factual innocence the Government did call the Same
person L was.on-theceliphone with name Casheil Willtams tot sity
QS a Government witness and he was granted immunity and he didmor .
testify that he ever came-to the Stores on Oak Street to Attack anyone ,

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- PLusthe Government. had casneil Williams ceilphone data and it Showed

he was not the Attacker of Mr. Carlton Weekly based on‘ceil phone towerdata®
seth Location atthe time of the slaying of Mr. Carlton Week ly
urther,this court is asked to take Special consideration of +ne Government s
fpurden of proof andthey fail to even oSk casheil Williams did he himsglt
relay any information for RalphTurpin te athird party to whom chu
have. ordered or caused byany means the Ambush of carlton weekly AK. A, Duck .
Tt ismy belief that the only reason Such question was not asked ofthe
immunity granted witness casheil Williams was because prior tothe,
triai he had already toid the. Federal Prasecutors and Agents notype
of third party was used and he didnot relay anything to anyone else,
Wherefore, I Ralph Turpin just can not be blamed as my innocence
iS clearly shown th rough facts Which cant be denied or over Looked
through the evidence in these Jeiectric] devices and systems work

Off as proven herein. Tine Federal Government Knew L was iNNnoc Lint for

at Least a4 months before the cose went+totrial and plust dowt Knew my

co-defendants the First timersaw those men wos in pretrial. The Last

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Mt
cae 1:21-cr-00618 Document #: 970 Filed: 12/13/24 Page 9 of 12 PagelD #:15021

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and third fact that praves Tim la0% lanocent is eve

fe. epee. .

tho 6g h the Government/ Federal united states Attorney

office and there helping investi qati ng fey ee at Mr. Doyle __

hadoallthe electric evidence to prove T was nor

Guilty | in Guy wow of the Slaying of Mr. weekly
J i / / SS

AK, A, Duck , each acting official SELL pushed far
SJ
a ind ‘ ctynent. Ooamst me When © refuse-te help them

put acrimimal case tagether ‘plainl y. ‘because L did _

‘not Know haw be-had got cashishod because none _
T knew -did anything to him and wasttgaing ta just

Make Up o Lie to avoid prosecution when was

totally inpocent factually based onlel lectric data_|

the Government had in there possession anel did

decitne +o acknowledge hows fexculpatoryit WAS

in firmly Showing May, (Anocense.

Elnally, this honavable court is askedto consider the Facts

herein and take nfull accaunt of the prejudicial false Stote-

ments thet the Prasecutlan used ta s. alvcit and twistfalse
infe ematian. Deli brately deceiving” this court andthe

Jury Who will never Know thot +h ex Were Campelled

+o ronsider totally false ‘ wformatian From Oo Goverm-

Ment official they ach firmly believed they could trust

Lond thot trust was [abused and Used to convict ately

innocent man which Tam, Mr. Ralph Tur pin .

Wherefore, inthe. interest of jushee Lido request th! is trial

| Court to invest gate. this Lit gation avicl lexam une] the recor

_ and use the di scretion ta issue o’Shaw cause order Against

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Cake: 1:21-cr-00618 Documént #: 570 Filed: 12/13/24 Page 10 of 12 PagelD #:15022

the Government to respond and Show why verdict of |

l gut it shouid not be Set aside Where sucha obvious

| Fraud was practiced an the court and Tury in violation
of Ralph Turpin right to Procedural due pracess.

RELIEF SouGHT
Ral ph Turpin , moves this honorable courtto Grant

Hl the instant Litigation and issue Such order in Author ity

with the’complete Turis diction’ Sought to vacate andor .

Il Set aside the verdict of guilt against me due+to proven

ll act of Fraud and Delibrote Deception of this courtand

4] Jury charged to hearthe case established bythe government
whe here did Solicited the false i nformation denying due process

as revealed herein, Further, the court is asked to grant

any other relief equal or greater then the pro-se Movant

i /defendant has requested + isso prayed,
i} Dated: IA Ze ? Hyaoay. (sl Kou p—-—
Rolph Turpin

UNNOTARIZED OATH

J, Ralph Turpin, declare under all penalty of pet yury

Vithat this document istrue and Correct.

| Dated + gy 2024 | /S/

Rolph Turpin

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dl Ch illsmois GO
_ , 2) office of the United stotes Attar
ste Suite S00

f _

t, Ralph Tur p
4 Copy of the foregoing-docu :
| Bureav.of. pri sans correctional office rs for outgoing...

Legal mail tobe sent prepaid
| On Hois I doy of Decem her Aoat, xo hese WW XO.

| the parties b elow Listed.
| 1). cLerk of the court.ot 4

CERTIFICATE OF SERVICE... — -

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ment was han ded over to... oe

_via-U.S..p ostal Service.

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Case: 1:21-cr-00618 Document #: 570 Filed: 12/13/24 Page 11 of 12 PagelD #:15023

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is GOGO4,.— -

Ralphturpin® 5 55H5-St0 _.

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street _

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Metropolitan Cor#ectional Center~ > ye etn <b ie
71 W. Van Buren St. ce
Chicago, IL. 60605

The

10 DEC’ 2024 PM3 L

beu LS 72% Hon. Thomas Bruton

Clerk, U.S. District Court
219 S. Dearborn Street
Chicago, IL 60604

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